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1                                                                           Honorable James L. Robart
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8                               UNITED STATES DISTRICT COURT
9                         FOR THE WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
10
     Juweiya Abdiaziz ALI, et al.,                      Case No.: 2:17-cv-00135-JLR
11
                    Plaintiffs,
12
     v.                                                 PLAINTIFFS’ UNOPPOSED NOTICE OF
13                                                      VOLUNTARY DISMISSAL
14   Donald TRUMP, et al.,
15                  Defendants.
16

17          Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs

18   Juweiya Abdiaziz Ali and her son A.F.A., Reema Khaled Dahman and her son G.E., and Ahmed
19
     Mohammed Ahmed Ali and his daughter E.A. hereby move the Court to dismiss the above-
20
     captioned action as to all parties and claims. Such dismissal is without prejudice. Fed. R. Civ. P.
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     41(a)(1)(B). Counsel for Defendants have advised they do not oppose this motion.
22

23          DATED this 17th day of September, 2018.

24          Respectfully submitted,
25
            s/Matt Adams                                        s/Mary Kenney
26          Matt Adams, WSBA No. 28287                          Mary Kenney, admitted pro hac vice

27          s/Glenda Aldana                                     AMERICAN IMMIGRATION COUNCIL
            Glenda M. Aldana Madrid, WSBA No. 46987             1331 G Street, NW, Suite 200
28
                                                                Washington, D.C. 20005

     NOT. OF VOL. DISMISS.                                         NORTHWEST IMMIGRANT RIGHTS PROJECT
     Case No. 2:17-cv-00135-JLR                  -1                               615 Second Ave., Ste. 400
                                                                                         Seattle, WA 98104
                                                                                              206-957-8611
              Case 2:17-cv-00135-JLR Document 110 Filed 09/17/18 Page 2 of 3



1           s/Maria Lucia Chavez                          (202) 507-7512
            Maria Lucia Chavez, WSBA No. 43826            (202) 742-5619 (fax)
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3           NORTHWEST IMMIGRANT RIGHTS PROJECT
            615 Second Avenue, Suite 400
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            (206) 587-4025 (fax)
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7           s/Trina Realmuto
            Trina Realmuto, admitted pro hac vice
8

9           s/Kristin Macleod-Ball
            Kristin Macleod-Ball, admitted pro hac vice
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            AMERICAN IMMIGRATION COUNCIL
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            Attorneys for Plaintiffs
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     NOT. OF VOL. DISMISS.                                  NORTHWEST IMMIGRANT RIGHTS PROJECT
     Case No. 2:17-cv-00135-JLR               -2                          615 Second Ave., Ste. 400
                                                                                 Seattle, WA 98104
                                                                                      206-957-8611
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